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Fonaité E. “Ipwatsenp—l T7517
Name

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Address
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS
DAAQ _&
SAAN “Towatsen pts Plantiff CASE NO. | - > a Dg Ge?
(Full Name) (To be supplied by the Clerk) °
V.
(ly Hand La Li , Defendant (s) CIVIL RIGHTS COMPLAINT
PURSUANT TO 42 U.S.C.
§1983

Roe Mocer

 

 

 

A. JURISDICTION

1) Bontatic Eo wallet) IL , is a citizen of Aavsas
‘State,

(Plaintiff)
Lnusns , O2ArHE, Uansne

who presently resides at /O/ AG
(Mailing address or place

bb0bl

of confinement.)

is a citizen of

2) Defendant Al ATLA (4K ALA
(Name of first defendant)
, and is employed as

Situnlee, KAncas

(City, State)

. Cs PD
OFFICER pe SifAWAIGE orice PERIMENT 5p) the time the

(Position and title, if any)

claim(s) alleged in this complaint arose, was this defendant acting under the color of state

law? Yes[?] No[_ ]. If your answer is “Yes”, briefly explain:
Ar Arce flérevAntT Times To TMs Aen bal DEFENDANT toAS

Dering As ite Agewr, Seevanr, Main Emproiee oF (SPD)
To PeRroam PuTiEes iw THE City oF S$ y/4wnEE

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3) Defendant STEVE (SRAK DAV is a citizen of
(Name of second defendant)
SHAWAGE, [aAncas , and is employed as
* (City, state)

A_ office’ of THE Shxtwwee Pouce DePARiMGUfAt the time the

(Position and title, if any)

claim (s) alleged in this complaint arose was this defendant acting under the color of state

law? Yes No[__]. If your answer is “Yes”, briefly explain:

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WAS Aerie Putsvewr 7o fs ff urtodiry As Pouce Pefesoniatél.

(Use the back of this page to furnish the above information for additional defendants.)

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1983. (If you wish to
assert jurisdiction under different or additional statutes, you may list them below.)
12 _Urs.c. 9 149g t 2% vis c.P8 1331, 1343 Cay), 1367
Foe Stave Law CLUS is qv a 6 us LH” Amewomen Ts To U.S,
CONSTITUTIONS B. NATURE OF THE CASE

1) Briefly state the background of your case:
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over A Loos SPeai€eR System Gil Hin Commnaips
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DpitiesAt-  DeEFeal DANTS

4G c ‘ “ntzEN ®F SHAwAEL, Kotwisng,
30) - DEFENAANT fog Moser 18 A Citizen OF Sipwaler, FANSKS,

And (5 EmPoyeh As Dory Appoint res Can misgrovtR Of THE
5 HAW EE Pettcé DEPARTMENT . IN Fiis CAPE ITY, THE

COMMISSIONER WAS:
A. THE CommanweinG OFFICER OF DEFENDANTS Ala HAG
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Action Ano 18 sven As A Person’ vninen 42 v.S.c. 1983.

 
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C. CAUSE OF ACTION
1) Lallege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (8h” x 11’) to explain any allegation or to list
additional supporting facts.)
A) (1) Count I: Fi FT Aalo Fou RTEENTH Aneubmeurs Vi®LATION §
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oF
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(2) Supporting Facts: (Include all facts you consider important, including names of

persons involved, places and dates. Describe exactly how each defendant is involved.

State the facts clearly in your own words without citing legal authority or argument.):

On May 8, 2014 Ar 0904 mergose LN. , Syma ee , Kienisas. Wile Re

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B) (1) Count: fFougm Ameninmear Viorrtio’ of Mieut to RE

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(2) Supporting Facts: On MAY §, Zoid Putewriee Wks Unlawtuuy
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C) (1) Count Il: THE Contdver ALLEHED Aove Conts :TuTé Action WBcE

 

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(2) Supporting Facts: p, LUN TIFF  bWisites To Ascent SUPPORT iG

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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF
1) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes [_] Nol&T. tf your answer if “Yes”, describe each lawsuit. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, using the same
outline.)
a) Parties to previous lawsuit:

Plaintiffs:

 

Defendants:

 

b) Name of court and docket number

 

 

c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

pending?)

 

 

d) Issues raised

 

 

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e) Approximate date of filing lawsuit

 

f) Approximate date of disposition

 

1) Ihave previously sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in Part C Yes [XTNoL_]. if your answer is
“Yes”, briefly describe how relief was sought and the results. If you answer is “No”,
briefly explain why administrative relief was not sought.

Onj Avevsr 26, 2019 Prange Fired A ComPidiniT

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2) REQUEST FOR RELIEF

1) I believe that I am entitled to the following relief:

A. Compensniony DAmanes in the Amount oF , 2 , 000,000 °°
A. Ponte Namnees in THE Amount of 4 L 000, oco ©

C. Aroaner Fees Porsumme te 42. USC. * 1933

D. An Awad oF Puwuners Cog oF Sorr AND Aur orper

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Foie $.Joertarl

Signature of Attorney (if any) Signature of Plaintiff

 

 

 

(Attorney’s full address and telephone number)

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